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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ARIZONA


Mussalina Muhaymin as Personal
Representative of the Estate of
Muhammad Abdul Muhaymin Jr.,                   Case No.: CV-17-04565-PHX-DLR

      Plaintiff,                                    [PROPOSED] ORDER

      vs.

Ronaldo Canilao; James Clark;
Oswald Grenier; David Head;
Susan Heimbinger; Jason Hobe;
Dennis Lerous; Kevin McGowan;
Ryan Nielson; Antonio Tarango;
Steven Wong; City of Phoenix,

      Defendants.



      The Court having considered the Motion to Intervene and Unseal by Muslim

Advocates:

       IT IS HEREBY ORDERED that the Motion to Intervene be granted and that the

summary judgment filings, exhibits, hearing transcript and decision be unsealed and

placed on the public docket.


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